                                                              United States Bankruptcy Court
                                                                    District of Oregon
In re:                                                                                                                 Case No. 21-61582-dwh
Kent Alan Strickler                                                                                                    Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0979-6                                                  User: Admin.                                                                Page 1 of 3
Date Rcvd: Oct 28, 2022                                               Form ID: pdf025                                                           Total Noticed: 68
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

++               Addresses marked '++' were redirected to the recipient's preferred mailing address pursuant to 11 U.S.C. § 342(f)/Fed. R. Bank. P. 2002(g)(4).

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Oct 30, 2022:
Recip ID                   Recipient Name and Address
db                     +   Kent Alan Strickler, PO Box 470, Siletz, OR 97380-0470
cr                     +   Pratum Co-op, 8955 Sunnyview Rd. NE, Salem, OR 97305-9555
102302154              +   Alvin Stasser, c/o Andrew E. Fitch, Fitch & Neary, PC, 210 SW 5th Street, Suite 2, Redmond, OR 97756-2136
102302156              +   Amur Equipment Finance, c/o Diane Henkels, 621 SW Morrison Street, #1025, Portland, OR 97205-3813
102302157              +   Ascentium Capital, c/o Richard P. Freud, Gordon Rees Scully Mansukhani, 1300 SW 5th Avenue, Suite 2000, Portland, OR 97201-5629
102322837                  Bank of America, N.A., PO Box 673033, Dallas, TX 75267-3033
102329456             +    C. THOMAS DAVIS, DAVIS GALM LAW FIRM, 12220 SW FIRST STREET, Beaverton, OR 97005-2889
102302161            ++    CENTRAL LINCOLN PUD, PO BOX 1126, NEWPORT OR 97365-0090 address filed with court:, Central Lincoln PUD, 2129 N. Coast
                           Hwy, Newport, OR 97365
102302160              +   Centra Funding, c/o Brandon Gibbons, Padfield & Stout, 420 Throckmorton St., Suite 1210, Fort Worth, TX 76102-3792
102336498                  Centra Funding, LLC, c/o Wright Law Group PLLC, P.O. Box 105603, PMB 84356, Atlanta, GA 30348-5603
102302164              +   Columbia Bank, 2820 Harrison NW, Olympia, WA 98502-2502
102302165              +   Complete Business Solutions Group, Inc., dba Par Funding, 2000 PGA Blvd, Suite 4440, North Palm Beach, FL 33408-2738
102302167              +   David Olsen, Oliver Wright & Associate, POB 470, Lockport, NY 14095-0470
102302169              +   Ferrell Gas, POB 1003, Liberty, MO 64069-1003
102302171              +   Gatestone, POB 1259, Dept #149042, Oaks, PA 19456-1259
102325282              +   Grassy Sprain Group, Inc., 9858 Clint Moore Road , Suite C-11 #217, Boca Raton, FL 33496-1034
102302172              +   Green Capital Funding, LLC, c/o Christopher Castro, Esq, 17 State Street, Suite 4000, New York, NY 10004-1501
102324659              +   Jason Khano, 12 Powder Springs Street, Suite 240, Marietta, GA 30064-7205
102302174              +   John Hartley, Esq, 20 N. 3rd Street, Philadelphia, PA 19106-2118
102302177              +   Leroy and Barbara Ashwill, 4684 Ivory Way NE, Salem, OR 97305-3132
102336496              +   Matthew Lee, P.O. Box 105603, PMB 84356, Atlanta, GA 30348-5603
102302179              +   McDonald Carano LLP, PO Box 2670, Reno, NV 89505-2670
102302181              +   NACM Commercial Services, 606 N. Pines Road, Suite 102, Spokane, WA 99206-6711
102324660              +   On Deck Capital, Inc., c/o Aubrey Thrasher LLC, 12 Powder Springs Street, Suite 240, Marietta, GA 30064-7205
102302185                  Pratum Co-Op, c/o Shannon Martinez, Saalfeld Griggs, POB 470, Salem, OR 97308-0470
102302188              +   Siletz Tribal Business Corporation, 2120 NW 44th Street, D, Lincoln City, OR 97367-5089
102302189              #   Spark Funding, 100 Garden City Plaza, Suite 410, Garden City, NY 11530-3216
102302191              +   Swire Coca-Cola, c/o Blake Embry, Embry & Associates, LLC, 1624 Market St., Suite 202, Denver, CO 80202-1518
102302193              +   Teryan Runyon, c/o Andrew E. Fitch, Fitch & Neary PC, 210 SW 5th Street, Suite 2, Redmond, OR 97756-2136
102302194              +   Teryan's Great Escape LLC, c/o Andrew E. Fitch, Fitch & Neary, PC, 210 SW 5th Street, Suite 2, Redmond, OR 97756-2136
102302195              +   Three Rivers Landowners Association, c/o Patrick T. Foran, Wyse Kadish LLP, 900 SW Fifth Avenue, Suite 2000, Portland, OR
                           97204-1229
102302196              +   Tyree Oil, Inc., c/o Michael T. Davis, 12220 SW First Street, Beaverton, OR 97005-2889
102302199              +   Valley Fire-VPC Control, Inc., 217 Main St. SE, Albany, OR 97321-3023
102302200                  Wave TV, 235 Carlaw Avenue, Suite 501, Toronto, Ontario, CN
102302201              +   World Pay US, 201 17th Street NW, Suite 1000, Atlanta, GA 30363-1195
102302202                  WorldPay Merchant Services, PO BOx 639726, Cincinnati, OH 45263-9726

TOTAL: 36




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Date Rcvd: Oct 28, 2022                                               Form ID: pdf025                                                          Total Noticed: 68
Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
102327473              + Email/Text: bankruptcy@amuref.com
                                                                                        Oct 28 2022 23:04:00      AMUR Equipment Finance, Inc., 308 North
                                                                                                                  Locust Street Suite 100, Grand Island, NE
                                                                                                                  68801-5985
102327719              + Email/Text: bankruptcy@amuref.com
                                                                                        Oct 28 2022 23:04:00      AMUR Equipment Finance, Inc., 304 W. 3rd
                                                                                                                  Street, Grand Island, NE 68801-5941
102302152                 Email/Text: bnc@alltran.com
                                                                                        Oct 28 2022 23:03:00      Alltran Financial, LP, POB 722929, Houston, TX
                                                                                                                  77272-2929
102302153                 Email/Text: bankruptcydepartment@tsico.com
                                                                                        Oct 28 2022 23:03:00      Alltran Financial, LP, POB 4043, Concord, CA
                                                                                                                  94524-4043
102302155                 Email/PDF: bncnotices@becket-lee.com
                                                                                        Oct 28 2022 23:06:51      American Express, POB 650448, Dallas, TX
                                                                                                                  75265-0448
102330121                 Email/PDF: bncnotices@becket-lee.com
                                                                                        Oct 28 2022 23:06:45      American Express National Bank, c/o Becket and
                                                                                                                  Lee LLP, PO Box 3001, Malvern PA 19355-0701
102302158                 Email/Text: creditcardbkcorrespondence@bofa.com
                                                                                        Oct 28 2022 23:03:00      Bank of America, POB 982234, El Paso, TX
                                                                                                                  79998-2234
102330943              + Email/Text: bknotices@professionalcredit.com
                                                                                        Oct 28 2022 23:03:00      CENTRAL LINCOLN PUD C/O
                                                                                                                  PROFESSIONAL CREDIT SERVIC, PO BOX
                                                                                                                  7548, SPRINGFIELD, OR 97475-0039
102302159              + Email/Text: bankruptcy@cavps.com
                                                                                        Oct 28 2022 23:03:00      Cavalry SPV I, LLC, 500 Summit Lake Drive,
                                                                                                                  Suite 400, Valhalla, NY 10595-2321
102302163              + Email/PDF: Citi.BNC.Correspondence@citi.com
                                                                                        Oct 28 2022 23:06:58      Citi, POB 6000, Sioux Falls, SD 57117-6000
102327717                 Email/PDF: Citi.BNC.Correspondence@citi.com
                                                                                        Oct 28 2022 23:06:58      Citibank, N.A., 5800 S Corporate Pl, Sioux Falls,
                                                                                                                  SD 57108-5027
102302166              ^ MEBN
                                                                                        Oct 28 2022 22:59:39      Credit Control LLC, POB 546, Hazelwood, MO
                                                                                                                  63042-0546
102302170              + Email/Text: nik.mastrangelo@gmail.com
                                                                                        Oct 28 2022 23:03:00      Frederick Conte, c/o Nikolas L. Mastrangelo, Esq.,
                                                                                                                  811 South 6th Street, Las Vegas, NV 89101-6923
102302173                 Email/Text: sbse.cio.bnc.mail@irs.gov
                                                                                        Oct 28 2022 23:03:00      IRS, POB 7346, Philadelphia, PA 19101-7346
102340955                 Email/Text: JCAP_BNC_Notices@jcap.com
                                                                                        Oct 28 2022 23:03:00      Jefferson Capital Systems LLC, Po Box 7999,
                                                                                                                  Saint Cloud MN 56302-9617
102302175                 Email/PDF: ais.chase.ebn@aisinfo.com
                                                                                        Oct 28 2022 23:06:56      JPMCB Card Services, POB 15369, Wilmington,
                                                                                                                  DE 19850
102302178                 Email/Text: bankruptcy@loanme.com
                                                                                        Oct 28 2022 23:03:00      LoanMe, 1900 S. State College Blvd, Suite 300,
                                                                                                                  Anaheim, CA 92806
102325060                 Email/PDF: resurgentbknotifications@resurgent.com
                                                                                        Oct 28 2022 23:06:45      LVNV Funding, LLC, Resurgent Capital Services,
                                                                                                                  PO Box 10587, Greenville, SC 29603-0587
102302176              + Email/Text: lwerwin@lwerwin.com
                                                                                        Oct 28 2022 23:03:00      Lawrence W. Erwin, Law Office of Lawrence W.
                                                                                                                  Erwin, 221 NW Lafayette Ave, Bend, OR
                                                                                                                  97703-1927
102302180              + Email/Text: bankruptcydpt@mcmcg.com
                                                                                        Oct 28 2022 23:03:00      Midland Credit Management, 350 Camino De La
                                                                                                                  Reina, Suite 100, San Diego, CA 92108-3007
102302182                 Email/Text: bankruptcydepartment@tsico.com
                                                                                        Oct 28 2022 23:03:00      Nationwide Credit, POB 15130, Wilmington, DE
                                                                                                                  19850-5130
102302183              + Email/Text: bankruptcy@ondeck.com
                                                                                        Oct 28 2022 23:03:00      OnDeck Capital, 1400 Broadway, 25th Floor, New
                                                                                                                  York, NY 10018-5225
102302184                 Email/Text: bankruptcy.revenue@oregon.gov
                                                                                        Oct 28 2022 23:03:00      Oregon Department of Revenue, ODR Bkcy, 955
                                                                                                                  Center NE #353, Salem, OR 97301-2555
102325061                 Email/PDF: resurgentbknotifications@resurgent.com




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Date Rcvd: Oct 28, 2022                                            Form ID: pdf025                                                       Total Noticed: 68
                                                                                   Oct 28 2022 23:06:46     Pinnacle Credit Services, LLC, Resurgent Capital
                                                                                                            Services, PO Box 10587, Greenville, SC
                                                                                                            29603-0587
102302186             + Email/Text: bknotices@professionalcredit.com
                                                                                   Oct 28 2022 23:03:00     Professional Credit Service, 400 International
                                                                                                            Way, Springfield, OR 97477-7004
102302187             + Email/Text: ngisupport@radiusgs.com
                                                                                   Oct 28 2022 23:03:00     Radius Global Solutions, 500 North Franklin
                                                                                                            Turnpike, Ste 200, Mail Code - 747, Ramsey, NJ
                                                                                                            07446-1160
102302190                Email/Text: bankruptcy@sunrisecreditservices.com
                                                                                   Oct 28 2022 23:03:00     Sunrise Credit Service, 260 Airport Plaza Blvd.,
                                                                                                            PO Box 9100, Farmingdale, NY 11735-9100
102302192                Email/PDF: gecsedi@recoverycorp.com
                                                                                   Oct 28 2022 23:06:51     Synchrony Bank/Amazon, POB 960013, Orlando,
                                                                                                            FL 32896-0013
102336782                Email/Text: RPSBankruptcyBNCNotification@usbank.com
                                                                                   Oct 28 2022 23:03:00     U.S. Bank NA dba Elan Financial Services,
                                                                                                            Bankruptcy Department, PO Box 108, Saint Louis
                                                                                                            MO 63166-0108
102302168                Email/Text: RPSBankruptcyBNCNotification@usbank.com
                                                                                   Oct 28 2022 23:03:00     Elan Financial Service, POB 108, Saint Louis, MO
                                                                                                            63166
102302197             + Email/Text: RPSBankruptcyBNCNotification@usbank.com
                                                                                   Oct 28 2022 23:03:00     US Bank ND, POB 6352, Fargo, ND 58125-6352
102302198             + Email/Text: PDELINQ@sba.gov
                                                                                   Oct 28 2022 23:03:00     US Small Business Administration, Disaster
                                                                                                            Assistance Processing, 14925 Klingsport Road,
                                                                                                            Fort Worth, TX 76155-2243

TOTAL: 32


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason    Name and Address
102330122       *                American Express National Bank, c/o Becket and Lee LLP, PO Box 3001, Malvern PA 19355-0701
102321291       *+               Cavalry SPV I, LLC, 500 Summit Lake Drive, Ste 400, Valhalla, NY 10595-2321
102336497       *                Matthew Lee, P.O. Box 105603, PMB 84356, Atlanta, GA 30348-5603
102302162       ##+              CIT Bank c/o Kristin Asai, Holland & Knight LLP, 2300 US Bancorp Tower, 111 SW Fifth Avenue, Portland, OR 97204-3626
102306021       ##+              Complete Business Solutions Group Inc. /Receiver, 20 N. 3rd Street, Philadelphia, PA 19106-2118

TOTAL: 0 Undeliverable, 3 Duplicate, 2 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Oct 30, 2022                                        Signature:           /s/Gustava Winters




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                                      UNITED STATES BANKRUPTCY COURT
                                            DISTRICT OF OREGON


 In re                                        ) Case No.       21-61582-dwh7
 Kent Alan Strickler,                         )
                                              ) Notice of Intent to Sell Property
                                              ) at Private Sale, Compensate Real
                                              ) Estate Broker, and/or Pay any
                                              ) Secured Creditor's Fees and Costs
                                              )
                                              ) [Note: Do not use to sell personally
 Debtor(s)                                    ) identifiable information about individuals.]


 1. An offer has been received by the trustee from Floyd White                                          , whose
    relation to the debtor(s) is N/A                             , to purchase the following estate property:
    (If real property, state street address here. Also attach legal description as an exhibit to the notice filed
    with the court.)
     Judgment against the Now Corporation, entered in related Adversary No. 22-06018-dwh as Dkt.
     8, in the face amount of $150,000.




     for the sum of $      15,000.00      upon the following terms:


 2. The gross sales price is: $       15,000.00        .

     All liens on the property total $ 0              , of which the trustee believes a total of $  N/A
     need not be paid as secured claims (because the lien is invalid, avoidable, etc., the lienholder consents
     to less than full payment, or part or all of the underlying debt is not allowable).

     Secured creditor(s) also seek(s) reimbursement of $ N/A                                 for fees and costs.

     Total sales costs will be: $ 0                         .

     All tax consequences have been considered and it presently appears the sale will result in net
     proceeds to the estate after payment of valid liens, fees, costs and taxes of approximately:
     $ 15,000.00                                             .

3. [If real property] The court appointed real estate broker, NA                                               ,
   will be paid NA                                                                                             .

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 NOTICE IS GIVEN that the trustee will sell the property, reimburse for any secured creditor's fees and
 costs, and compensate any real estate broker upon the above terms and without further notice unless,
 within 23 days of the date below:

    1. The trustee receives a bid exceeding the above offer by at least $       5,000        , and upon the
       same or more favorable terms to the estate; or

    2. An interested party:

        (a) files a written objection to the sale, the reimbursement of fees and costs or broker's
        compensation, setting forth the specific grounds for the objection, with the clerk at 1050 SW 6th
        Ave. #700, Portland OR 97204 or 405 E 8th Ave. #2600, Eugene OR 97401, and

        (b) serves the objection on the trustee, Jeanne E. Huffman                                      , at
        POB 1674, Pendleton, OR 97801                                                                      .

 If no objection is filed, but the trustee receives any upset bids as specified above within 23 days of the
 date below, the trustee will notify all persons who have expressed an interest in purchasing the above
 property of the date, time and place of a meeting at which the trustee will conduct an auction and sell the
 property to the highest bidder without further notice.

 For further information, contact: Timothy A. Solomon, Leonard Law Group LLC,
 4110 SE Hawthorne, PMB 506, Portland, OR 97214, 971-634-0194, tsolomon@LLG-LLC.com                        .

Date:    10/28/2022                                               /s/ Jeanne E. Huffman
                                                                                  Trustee




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